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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

---------------------------------x
                                    :
In re:                              :                         Chapter 11
                                    :
QUIKSILVER, INC., et al.,           :                         Case No. 15-11880 (BLS)
                                    :
                          Debtors.1 :                         Jointly Administered
                                    :
---------------------------------x


                                        AFFIDAVIT OF SERVICE

       I, Darlene Calderon, depose and say that I am employed by Kurtzman Carson
Consultants LLC (KCC), the claims and noticing agent for the Debtors in the above-captioned
cases.

     On January 28, 2016, at my direction and under my supervision, employees of KCC caused
to be served the following document via Email on the service list attached hereto as Exhibit A,
and via First Class mail on the service list attached hereto as Exhibit B:

    •   Notice of Filing of Third Amended Chapter 11 Plan of Reorganization of Quiksilver,
        Inc. and its Affiliated Debtors and Debtors in Possession [Docket No. 731]

    •   Notice of Filing of Second Amendment to the Plan Supplement with Respect to the
        Third Amended Joint Chapter 11 Plan of Reorganization of Quiksilver, Inc. and Its
        Affiliated Debtors and Debtors in Possession [Docket No. 735]

    •   Notice of Unexpired Leases to be Assumed Pursuant to the Third Amended Joint
        Chapter 11 Plan of Reorganization of Quiksilver, Inc. and Its Affiliated Debtors and
        Debtors in Possession and Cure Amount with Respect Thereto [Docket No. 736]


     Furthermore, on January 28, 2016, at my direction and under my supervision, employees of
KCC caused to be served the following document via Overnight mail on the service list attached
hereto as Exhibit C:

1
    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows:
    Quiksilver, Inc. (9426), QS Wholesale, Inc. (8795), DC Direct, Inc. (8364), DC Shoes, Inc. (0965), Fidra, Inc.
    (8945), Hawk Designs, Inc. (1121), Mt. Waimea, Inc. (5846), Q.S. Optics, Inc. (2493), QS Retail, Inc. (0505),
    Quiksilver Entertainment, Inc. (9667), and Quiksilver Wetsuits, Inc. (9599). The address of the Debtors'
    corporate headquarters is 5600 Argosy Circle, Huntington Beach, California 92649.
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                                                                       Core/2002 Email Service List


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of Unsecured Creditors                   Pepper Hamilton LLP                        David B Stratton David M Fournier               John H Schanne II                    5100                      1313 N Market St   Wilmington        DE      19899-1709

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Attorneys for City of Katy, Harris
County Municipal Utility District #358
and Harris County Water Control and
Improvement District #155                Perdue Brandon Fielder Collins Mott LLP    c/o Owen M Sonik                                1235 North Loop West                 Suite 600                                    Houston           TX      77008
                                                                                                                                                                         1000 Wilshire Blvd.,
Attorneys for Port Logistics             Port Logistics                             c/o Pamela Kohlman Webster, Esq.                Buchalter Nemer                      Suite 1500                                   Los Angeles       CA      90017




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                                                                                                                      Core/2002 First Class Service List




            DESCRIPTION                                       NAME                              NOTICE NAME                                    ADDRESS1                   ADDRESS2            ADDRESS3          CITY        STATE     ZIP            COUNTRY
Counsel to Parigi Group Ltd.            Potter Anderson & Corroon LLP              Jeremy W Ryan Etta R Mayers                     1313 N Market St 6th Fl           PO Box 951                          Wilmington         DE    19899-0951
Attorneys for Blue Diamond Crossing II,                                                                                            3800 Howard Hughes Parkway Ste
LLC                                     Rice Reuther Sullivan & Carroll LLP        David A Carroll Anthony J DiRaimondo            1200                                                                  Las Vegas          NV    89169

Counsel for Bank of America, N.A., in
its capacity as administrative agent and
collateral agent, and as a pre-petition
and post-petition senior secured lender Riemer & Braunstein LLP                    Attn Steven Fox                                 Seven Times Square                Suite 2506                          New York           NY    10036

Counsel for Bank of America, N.A., in
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Interested Party                         Rosenthal & Rosenthal Inc                 Attn Anthony DiTirro                            1370 Broadway                                                         New York           NY    10018
Committee of Unsecured Creditors         Samil Tong Sang Co                        Attn Ian Im                                     18-130 Gangdong-Dong                                                  Busan                    13 618-800       South Korea
Counsel for E. Gluck Corporation         Saul Ewing LLP                            Mark Minuti                                     222 Delaware Ave Ste 1200         PO Box 1266                         Wilmington         DE    19899

SEC Headquarters                        Securities & Exchange Commission           Secretary of the Treasury                       100 F St NE                                                           Washington         DC    20549
                                                                                                                                                                     1617 JFK Boulevard Ste
SEC Regional Office                      Securities & Exchange Commission          Sharon Binger Regional Director                 One Penn Center                   520                                 Philadelphia       PA    19103
Attorneys for Delaware Trust Company,
as Indenture Trustee for the 7.875%
Senior Secured Notes                     Seward & Kissel LLP                       John R Ashmead                                  One Battery Park Plaza                                                New York           NY    10004
Counsel to G&S Realty 1, LLC             Shenwick & Associates                     James H Shenwick                                655 Third Ave 20th Fl                                                 New York           NY    10017
Counsel to Parigi Group Ltd.             Sills Cummis & Gross PC                   Andrew H Sherman Boris I Mankovetskiy           Lucas F Hammonds                  One Riverfront Plaza                Newark             NJ    07102
Party in Interest, Landlord; Committee
of Unsecured Creditors                   Simon Property Group, Inc                 Attn: Ronald M. Tucker, Esq.                    225 West Washington Street                                            Indianapolis       IN             46204
Counsel for Victoria Ward, Limited       Spector & Johnson PLLC                    Howard Marc Spector                             12770 Coit Rd Ste 1100                                                Dallas             TX    75251
Counsel to Industrial Property Fund VII,
LLC; West County Commerce Realty
Holding Co. LLC                          Stroock & Stroock & Lavan LLP             Andrew P DeNatale                               180 Maiden Ln                                                         New York           NY    10038
Committee of Unsecured Creditors         T. Rowe Price Credit Opportunities Fund   c/o T. Rowe Price Associates, Inc.              Attn Andrew Baek                  100 E. Pratt Street                 Baltimore          MD    21202

Counsel for Taubman Landlords         The Taubman Company                          Andrew S Conway Esq                             200 East Long Lake Road Ste 300                                       Bloomfield Hills   MI    48304
Tennessee Department of Revenue       TN Dept of Revenue                           c/o TN Attorney General's Office, BK Div        PO Box 20207                                                          Nashville          TN    37202
Agent for the Debtors’ Prepetition
Senior Secured Notes and Prepetition
Senior Unsecured Notes; Committee of                                                                                                                                 100 Wall Street, Suite
Unsecured Creditors                   U.S. Bank National Association               Justin L. Shearer Vice President                Global Corporate Trust Services   1600                                New York           NY    10005
US Attorneys Office                   US Attorney for Delaware                     Charles Oberly c/o Ellen Slights                1007 Orange St Ste 700            PO Box 2046                         Wilmington         DE    19899-2046
Committee of Unsecured Creditors      Wilfrid Global Opportunity Fund              c/o Wilfrid Aubrey LLC                          Attn Nicholas Walsh               465 Lexington Ave                   New York           NY    10174
Counsel to the Agent for the Debtors’
Prepetition Revolving Loan Facility   Womble Carlyle Sandridge & Rice, LLP         Attn Steven K Kortanek                          222 Delaware Avenue               Suite 1501                          Wilmington         DE    19801

Counsel to Bank of America, N.A., in its
capacity as administrative agent and
collateral agent, and as pre-petition and                                                                                                                            222 Delaware Ave Suite
post-petition senior secured lender       Womble Carlyle Sandridge & Rice, LLP     Steven K Kortanek Thomas M Horan                Morgan L Patterson                1501                                Wilmington         DE    19801
                                                                                                                                                                     2600 Citadel Plaza
Interested Party                        WRI Marshalls Plaza, LP                    c/o Weingarten Realty Investors                 Attention: Jenny J. Hyun, Esq     Drive, Suite 125                    Houston            TX     77008




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                                                                          Exhibit C
                                                           Affected Parties Overnight Service List

                NAME                           NOTICE NAME                          ADDRESS1                   ADDRESS2              CITY      STATE     ZIP
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Ballard Spahr LLP                   Matthew Summers, Leslie Heilman    919 Market Street, 11th Floor                            Wilmington     DE    19801
BOULEVARD INVEST LLC                                                   3663 LAS VEGAS BLVD. S, #900                             LAS VEGAS      NV    89109

GGP Limited Partnership, as Agent   Kristen N. Pate                    110 N. Wacker Drive                                      Chicago        IL    60606
Katten Muchin Rosenman LLP          c/o Dustin P Branch                2029 Century Park East Ste 2600                          Los Angeles    CA    90067-3012




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